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           SEVENTH ANNUAL
         BAKER BOTTS LECTURE
      UNDERSTANDING THE RAND COMMITMENT
                                      Doug Lichtman*



                                           ABSTRACT

          In a typical agreement between a buyer and a seller, price is
     one of the central terms specified in the deal. Yet, in a
     surprisingly large number of technology agreements, patent
     holders today are choosing to leave out that critical detail.
     Instead, in these modern agreements, patent holders adopt as
     their pricing term only a commitment to later price at a
     "reasonable and nondiscriminatory" rate. This RAND
     commitment has been used in patent deals covering everything
     from 3G cellular communication to DVD video playback. But why
     are firms adopting it? And how should courts interpret its
     language? In this Lecture, I take up these questions, considering
     the purpose behind this type of price ambiguity and ultimately
     arguing that, at its core, the RAND commitment is most likely a
     pro-competitive mechanism primarily designed to guide courts
     away from patent law's conventional-and here largely
     inappropriate-damages regime.




          *   Professor of Law, UCLA. This Lecture was originally presented as the Spring
     2010 Baker Botts Lecture at the Institute for Intellectual Property & Information Law, at
     the University of Houston Law Center. My thanks to Craig Joyce for inviting me to give
     that talk, to the many attendees that night who offered some amazingly helpful
     comments, and to readers Nick Chan, Amy Marasco, Joseph Miller, and Eric Posner.
     Additional comments are very much welcome. I can be reached at lichtman@law.ucla.edu.



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                                      I.       INTRODUCTION
            Prior to adopting a technical standard, standard-setting
       organizations typically endeavor either to make sure that the
       standard does not infringe any patent rights or to clear the
       necessary permissions. The task is a difficult one. The protocol
       that governs how information is stored on DVD-R media, for
       example, is known to implicate at least 342 different patents.
       The encoding, decoding, and transmission protocols relevant to
      just one type of cellular telephony touch well over 1,000.2 And
       RFID technology-those electronic tags that Wal-Mart and the
       Department of Defense hope will someday transform inventory
       management-is at this point rumored to labor under the weight
       of over 4,000 issued patents in the United States alone.'
            Those large numbers are problematic because it takes
       substantial time and money to evaluate a patent. To do the job


            1.  See Patent List, DVD6C           LICENSING GROUP, http://www.dvd6cla.com/
      patentlist_15.html (last visited Oct. 4, 2010) (listing and offering to license 342 DVD-R
      patents).
            2.   See Review of Patents Declared as Essential to WCDMA Through December,
      2008, FAIRFIELD RES. INT'L, 1, 9 (Jan. 6, 2009), http://www.frlicense.com/wcdmal.pdf
      (noting that over 1,889 patent families have to date been declared essential to WCDMA).
            3.   See Mark Robert, New Report on RFID Patents, RFID JOURNAL (Jul. 6, 2004),
      http://www.rfidjournal.com/article/pdf/1016/1/1/rfidjournal-articlel016.PDF     (mentioning
      that 4,279 RFID-related patents were issued in the United States before December 31,
      2003).




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     right, consensus would have to be achieved as to whether the
     patent is valid, whether it covers a truly essential aspect of the
     standard at issue, and exactly how much the patent contributes
     as compared to next-best alternatives. Worse, all of that would
     need to be done in a context where patent holders have strong
     incentives to exaggerate;' where information about pending
     patent applications is understandably hard to come by;' and
     where there will often rage an independently contentious debate
     over non-patent issues like the specifics of what should and
     should not be included in the standard.
          Thus enters the RAND commitment.6 Instead of
     undertaking the difficult task of evaluating asserted patents,
     most standard-setting organizations simply keep a running list
     of patents that have been asserted to be relevant by one or
     another patent-holding participant.! Those participants are then
     required to agree that, ultimately, they will make available to
     the public, on "reasonable and nondiscriminatory terms," any
     truly essential patent.! The need for careful patent analysis is
     thereby diminished. If a given patent turns out to be irrelevant,
     no one will need a license for its use anyway. But if a given
     patent turns out to be essential, at least the relevant patent
     holder has promised to license at a reasonable and
     nondiscriminatory rate.
          Hidden in that simple solution, of course, is enormous
     complexity. Is the RAND commitment a license, such that firms


         4.   See, e.g., FAIRFIELD RES. INT'L, supra note 2, at 1 (finding that only 28% of the
     patents declared essential to WCDMA are actually essential); Press Release, InterDigital,
     English High Court Rules that InterDigital European Patent (UK) 0,515,610 is Essential
     to the 3G UMTS WCDMA European Standard (Dec. 21, 2007), http://ir.interdigital.com/
     releasedetail.cfm?ReleaselD=321938 (announcing the outcome of a major patent case
     where only one out of thirty-one supposedly essential patents was found to actually be
     essential).
          5. Patent applications are not published during the first eighteen months of patent
     review unless the applicant affirmatively chooses to publish. 35 U.S.C. § 122(b) (2006).
          6. Although RAND is the common acronym used in the United States, in Europe
     the relevant acronym is FRAND, which stands for "fair, reasonable and
     nondiscriminatory." For purposes of this Lecture, I use the RAND formulation, but
     everything I say here is equally applicable to the FRAND variation.
         7.    See Mark A. Lemley, Intellectual Property Rights and Standard-Setting
     Organizations,90 CAL. L. REV. 1889, 1904-05 (2002) (reporting the results of a survey of
     patent policies adopted by standard-setting organizations). Note that an SSO might keep
     track not broadly of relevant patents, but more specifically of relevant claims within those
     patents.
          8. Again, the requirement is typically more specific, for instance obligating the
     patent holder to make available any relevant claims, rather than the patent as a whole,
     and, at that, to make those relevant claims available for use within the standard but not
     necessarily for other projects. For clarity in the text, I put these details aside, as they do
     not alter my overall argument.



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      can go ahead and implement the technology subject only to a
      later obligation to negotiate the price? Is it a promise to license,
      which would mean that implementing firms in fact have no right
      to use the patented technology until they cut a specific deal? And
      what happens if, as seems enormously likely, an essential patent
      holder ultimately thinks one price is reasonable whereas the
      implementing firms think a much lower number is appropriate?
      Is that dispute a contract dispute, litigated using traditional
      contract damages measures, or a patent dispute, meaning that
      the patent system's damages regime controls?
            In this Lecture, I set out to answer some of these fundamental
      questions. I begin in Part II by articulating four reasons why firms
      involved in the standard-setting process use RAND rather than
      explicitly negotiating price. My main point is that participating
      firms are attempting to delay price negotiation, but in a way that
      does not distort that negotiation when it ultimately does take
      place. In Part III, I build on that insight to advance two primary
      contentions. I argue that triple damages and injunctive relief are
      both inconsistent with the purpose of RAND, and thus patent
      holders should not be allowed to invoke those traditional patent
      remedies in the context of a RAND dispute. And I argue that, from
      an antitrust perspective, RAND's ambiguous language is actually
       something of a godsend, in that the ambiguity makes it harder for
      firms to use standard-setting as a cover for anticompetitive
      collusion. In Part IV, I consider alternative interpretations of
      RAND that would leave traditional patent law remedies more fully
      intact. Part V then briefly concludes.
            One last word before I begin. I do not intend any of the
      remarks that follow to be controversial. The academics who
      have looked at RAND before me disagree about certain details
       of the analysis but most agree on the two big ideas that I also
       want to champion: RAND is a rejection of patent law's default
       damages regime, and RAND presents less of an antitrust
       problem than would explicit group pricing. My purpose in
       writing this Lecture, then, is to supplement that work from
       commentators like Anne Layne-Farrar,' Mark Lemley,'o Joseph


             9.   See Anne Layne-Farrar, Gerard Llobet & A. Jorge Padilla, Preventing Patent
      Hold Up: An Economic Assessment of Ex Ante Licensing Negotiationsin StandardSetting,
      37 AIPLA Q.J. 445 (2009); Anne Layne-Farrar, A. Jorge Padilla, & Richard Schmalensee,
      Pricing Patents for Licensing in Standard-Setting Organizations: Making Sense of
      FRAND Commitments, 74 ANTITRUST L.J. 671 (2007).
            10.   See Lemley, supra note 7, at 1904, 1906; Mark A. Lemley & Carl Shapiro,
      Patent Holdup and Royalty Stacking, 85 TEX. L. REV. 1991 (2007); Mark A. Lemley, Ten
      Things to Do About Patent Holdup of Standards (and One Not to), 48 B.C. L. REV. 149,
         155 (2007) [hereinafter Lemley, Ten Things].



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    2010] UNDERSTANDING THE RAND COMMITMENT                                               1027

    Miller," Mark Patterson, 2 Carl Shapiro,'" and others. 4 They
    have been leading the charge for years now. My contribution is to
    offer additional policy and intuitive explanations for why our
    view is right.

                                       II. WHY RAND
         I want to start by thinking about RAND from a purely
    business perspective. That is, for the moment I want to put
    aside patent, contract, and antitrust law, and I want to focus
    instead on the business question of why firms might prefer the
    ambiguous RAND commitment over a more conventional,

        11.   See Joseph Scott Miller, Standard Setting, Patents, and Access Lock-In: RAND
    Licensing and the Theory of the Firm, 40 IND. L. REV. 351 (2007).
        12.   See Mark R. Patterson, Antitrust and the Costs of Standard-Setting:A Comment
    on Teece & Sherry, 87 MINN. L. REV. 1995, 1997 (2003); Mark R. Patterson, Inventions,
    Industry Standards,and Intellectual Property,17 BERKELEY TECH. L.J. 1043 (2002).
        13.   See Carl Shapiro, Navigating the Patent Thicket: Cross Licenses, Patent Pools,
    and StandardSetting, in 1 INNOVATION POLICY AND THE EcONOMY 119 (Adam Jaffe et al.
    eds., 2000); CARL SHAPIRO & HAL R. VARIAN, INFORMATION RULES: A STRATEGIC GUIDE TO
    THE NETWORK ECONOMY 229 (1999); Lemley & Shapiro, supra note 10.
         14.   See, e.g., Daniel G. Swanson & William J. Baumol, Reasonable and
    Nondiscriminatory (RAND) Royalties, Standards Selection, and Control of Market Power,
    73 ANTITRUST L.J. 1, 5 (2005). For additional helpful links into the literature, see
    generally Layne-Farrar, Padilla, & Schmalensee, supra note 9, and Miller, supra note 11.
    Note that there is not universal agreement on the big points I set out to champion here.
    Damien Geradin, for example, dismisses policy analyses like mine as irrelevant academic
    theory. As he puts it, papers like this one "merely reflect[ I policy preferences that may or
    may not be deemed in [the] future to have merit, but for which no historical consideration
    was given when most (F)RAND policies were adopted." Damien Geradin & Miguel Rato,
    Can Standard-SettingLead to Exploitative Abuse? A Dissonant View on PatentHold-Up,
    Royalty Stacking and the Meaning of FRAND, 3 EuR. COMPETITION J. 101, 117-18 (2007);
    see Roger G. Brooks & Damien Geradin, Taking Contracts Seriously: The Meaning of the
    Voluntary Commitment to License EssentialPatents on "Fairand Reasonable"Terms 2 n.7
    (Mar. 12, 2010), http://papers.ssrn.com/sol3/papers.cfm?abstractid=1569498 (making
    the same point). Geradin's views have been influential, in part because he advised
    Qualcomm in what was the most high-profile RAND litigation thus far: that firm's now-settled
    multi-jurisdictional conflict with Nokia. For background on the Qualcomm litigation with
    Nokia, see Don Clark, Qualcomm's Legal Battles Hold Big Implications for Cellphones,
    WALL ST. J., Sept. 7, 2006, at B5.
        15. My intended audience is the courts that will soon have to decide these issues.
    Patent holders sometimes recognize the constraints RAND imposes when they frame
    relevant patent cases. See, e.g., Complaint for Patent Infringement and Declaratory
    Judgment at 2, Nokia Corp. v. Apple Inc., No. 1:2009cv00791 (D. Del. Oct. 22, 2009)
    (asserting infringement but pervasively recognizing the limitations associated with the
    RAND commitment). Sometimes, however, patent holders emphatically cross the line.
    See, e.g., Qualcomm Incorporated's Brief in Opposition to Plaintiffs' Motion to Dismiss
    and/or Stay and in Support of its Renewed Motion to Dismiss Plaintiffs' Complaint at 39,
    Nokia v. Qualcomm, C.A. No. 2330-VCS (Del. Ch. Sept. 24, 2007) [hereinafter Qualcomm
    Incorporated's Brief] (adopting an interpretation of RAND wholly inconsistent with my
    arguments about patent damages). My hope is that this Lecture will prove useful as
    additional courts confront these issues and thus need an accessible introduction to RAND
    and its implications.



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      explicit pricing term. The answer is not immediately obvious.
      After all, in most business settings, buyers very much want to
      know the prices associated with competing options so that they
      can ultimately make tradeoffs between price and quality. Yet, in
      standard-setting, that norm has been largely abandoned. Why?
            One reason is that intricate negotiations over patent
      validity and patent value would take an enormous amount of
      time. To work through a process where dozens of companies
      would debate the merits and worth of hundreds of patents
      would take years. Worse, were consensus not achieved,
      litigation would run yet more time off the clock, with
      substantial time lost first at the district court and then on
      appeal. One charm of the RAND commitment for participants
      and the public alike, then, is that RAND allows technological
      implementation to move forward while the parties in parallel
      work out legal and financial details.
            A second and related reason that firms opt for the RAND
      commitment is that standard-setting is a process run by
      engineers, not lawyers." A technology firm like Microsoft or
      Dolby can easily be involved in dozens of standard-setting
      processes at the same time. To send to each of those bodies not
      only the obviously necessary engineers but also an army of
      lawyers, business executives, and pricing specialists would be
      enormously expensive. The RAND commitment thus simplifies
      the conversation, allowing the engineers alone to run the show
      until the technical details are fully selected and documented.
            A third reason that firms choose RAND is that many new
      technologies flop. Digital Audio Tape (DAT) technology for a
      time looked like it was going to be so important that Congress
       passed a set of laws specifically regulating its sale and use."
       Oops. Similarly, from 2002 through 2008, the HD-DVD
       standard was backed by industry heavyweights including
       Toshiba, Sanyo and NEC.'8 Today, HD-DVD technology, too, is
      just a footnote in history." Thank goodness, then, that EMI,


         16.    Miller, supra note 11, at 369; Robert A. Skitol, Concerted Buying Power: Its
      Potential for Addressing the Patent Holdup Problem in Standard Setting, 72 ANTITRUST
      L.J. 727, 734 (2005).
            17.   I refer here to the now largely irrelevant Audio Home Recording Act of 1992,
         17 U.S.C. §§ 1001-1010 (2006).
            18.   Tony Smith, Toshiba Launches HD DVD Consortium, REGISTER (Dec. 23, 2004)
      http://www.theregister.co.uk/2004112/23/hd-dvd-promotion-.group.
            19.   See, e.g., Henning Molbaek, BreakingNews: ToshibaAnnounces Discontinuation
      of HD DVD, DVDTOWN (Feb. 19, 2008) http://www.dvdtown.com/news/breaking-news-
      toshiba-announces-discontinuation-of-hd-dvd-businesses/5254 (announcing Toshiba's
      decision to stop producing HD-DVDs).



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    Sony BMG, Universal Music Group, Warner Music, Sony,
    Toshiba, Sanyo, NEC, Paramount, Hewlett Packard, Microsoft,
    Apple, and their peers did not each invest a fortune vetting
    those patent situations. They would have negotiated detailed
    terms for a group of patents that turned out to have little actual
    commercial value.
         A fourth reason that firms opt for RAND-and this is in
    essence a more general version of reason three-is that RAND
    allows implementing firms to wait for additional information
    before they commit to a specific royalty structure.2 0 When Al Gore
    invented the Internet,2 1 no one really understood the impact
    those protocols would have on commerce, culture and
    communication. Much the same, when the now-familiar 2G
    wireless standard was first promulgated, even that technology's
    strongest proponents could not have foreseen the degree to which
    cell phone usage would permeate both work and play. Financial
    arrangements will often be more efficient in the long run if their
    details can be negotiated after the negotiating parties more fully
    understand how the technology at issue is going to be used and
    by whom. The RAND commitment delays pricing negotiations
    and thereby allows at least some of that information to be
    included in the ultimate royalty negotiation.
          None of this is meant to imply that a RAND-like approach
    was inevitable, or even that RAND is clearly the right way to go.
    My points about delay, failure, and the desirable absence of
    lawyers are all general arguments that could apply with
    comparable force in other settings. Businesses are routinely
    forced to delay the launch of products and services while they
    lawyer up their relationships and negotiate elaborate deals. And
    yes, many of those complicated deals ultimately prove worthless
    because consumers reject the resultant offering. Just the same,
     in many settings, delay would allow beneficial information to
     come to light-for instance, information about consumer
     preferences and the pace of market adoption. But businesses all
     the time enter into contracts anyway, allocating risk without
     knowing exactly what will happen next and sometimes making
     their various obligations contingent on future events. So, while
     these are all real problems to be sure, RAND is neither the only
     nor a necessary way to overcome them.


        20.    See Miller, supra note 11, at 369 (also pointing out this benefit of delay).
        21.    Just teasing. See Richard S. Whitt, Adaptive Policymaking: Evolving and
     Applying Emergent Solutions for U.S. Communications Policy, 61 FED. COMM. L.J. 483,
     548 (2009) (discussing how former Vice President Al Gore was wrongly accused of having
     himself claimed to "invent" the Internet).




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           Moreover, RAND has some real drawbacks. Consider, for
      instance, the fact that the RAND commitment separates the
      negotiation over the details of a technology from the negotiation
      over its cost.22 At my house, that would be an obvious and
      unacceptable blunder. I can only imagine what my wife would
      say were I to choose an expensive piece of home electronic
      equipment-say, a new flat-screen television-without having an
      estimate of what that hardware and its accessories would
      ultimately cost. Yet sophisticated companies like Nokia,
      Ericsson, Nortel, Sony, InterDigital, Texas Instruments, Alcatel,
      DirecTV, and NEC did exactly that when they hammered out the
      details of the recently launched Long Term Evolution (LTE)
      telecommunications standard." They made hundreds of nuanced
      choices about how LTE-compliant devices will decode, encode,
      and transmit data, but they did so without any real
      understanding of what the various options would cost in terms of
      patent fees. That sort of economic blindness is par for the course
      in the standard-setting process. But it is still jarring, and it still
      represents a real downside to the RAND approach.24
           As I will discuss more fully later in the Lecture, RAND has
       another significant drawback as well: it forces courts to take a
      more active role when it comes to pricing patents. Judges and
      juries are unlikely to be very good at valuing patented
      inventions. This would be true in even a simple case where a
       single patent was at play; but it is all the more true in the
       context of standard-setting, where the value of any one patent
      has to be judged in light of hundreds or even thousands of other
      necessary patent rights. An explicit pricing regime would address


         22.   Miller, supranote 11, at 364-67.
        23.  The Mobile Broadband Evolution: 3GPP Release 8 and Beyond HSPA+,
      SAEILTE and LTE-Advanced, 3G AMERICAS, 16 (Feb. 2009), http://3gamericas.org/
      documents/3GPPRel-8_beyond_02_12_09.pdf.
          24. For discussion, see Skitol, supra note 16, at 733-35. In reality, of course,
      complete price comparisons are impossible, because there will almost always be patents
      that are unknown at the time the standard is developed. A patent application might still
      be pending, for example, or the relevance of an issued patent might not be recognized at
      the time. Indeed, patent holders have an incentive to lay low during the standard-setting
      process in order to avoid being asked to undertake the RAND commitment. If I have a
      relevant patent and I can manage to go undetected during the standard-setting process, I
      can later assert my patent full-force against implementing firms. Thus, the real price of
      any chosen technology cannot be known ahead of time no matter whether RAND or
      explicit pricing is used. Known patents could be priced, but unknown patents would
      always remain as pricing wildcards. See Miller, supra note 11, at 369; see also Doug
      Lichtman, Patent Holdouts in the Standard-Setting Process, IP CENT. ACAD. ADVIsoRY
      CouNciL BULL. 1.3, May 2006, at 3-10, available at http//www.pff.org/issues-pubs/ip/
      bulletins/bulletinl.3patent.pdf (discussing the patent doctrines that make this sort of
      strategic behavior possible).



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     2010]    UNDERSTANDING THE RAND COMMITMENT                                    1031

     this difficulty: standard-setting participants would negotiate
     each patent's appropriate price, and courts would be asked only
     to enforce the agreed-upon deals. The RAND commitment, by
     contrast, puts courts center stage. If the parties cannot agree as
     to what "reasonable" means, a judge or jury will ultimately have
     to wade through the evidence and pick a number. Moreover, even
     if the parties in the end agree on what "reasonable" means, their
     agreement will unavoidably have been influenced by what each
     party expected a court would do if agreement had not been
     reached. RAND, then, takes a task that courts perform poorly
     and makes that task a central driver in the ultimate economic
     interaction.
          All that said, however, the RAND commitment is, as of this
     writing, widely used in settings where a large number of patents
     are plausibly implicated by a given technological standard. It might
     be a good idea. It might be a terrible one. But RAND is today
     pervasive, and as such it is inevitable that courts will at some point
     have to interpret its meaning. It is to that topic that I now turn.

                              III. INTERPRETING RAND
          It is something of an outrage that the language of the RAND
     commitment offers so little guidance as to its proper
     interpretation. What is "reasonable" and how does use of that
     word compare to patent law's use in the context of "reasonable"
     royalties? The standard RAND clause does not say.25 Does
     "nondiscriminatory" mean that prices must be the same across
     the board, or does it mean that some degree of price
     differentiation is fine but differences keyed to certain distasteful
     characteristics-discrimination-are verboten? I suspect the
     latter, but, again, the standard clause does not elaborate. Bad
     enough if this sort of ambiguity had shown up in some private
     contract governing an interaction of modest economic and
     cultural import. But the RAND commitment governs patent
     rights in a breathtaking array of familiar industries and
     technologies, and in the end it will serve to allocate multiple
     billions of dollars between and among major firms.
           Courts might be tempted to punish this ambiguity by
     interpreting the commitment to be meaningless, nonbinding, or
     otherwise ineffective." Such an approach would pressure firms in

         25. See Lemley, supra note 7, at 1906 ("While reasonable and non-discriminatory
     licensing thus appears to be the majority rule ... relatively few [standard-setting
     organizations] gave much explanation of what those terms mean. . . .").
         26. There was a time when incomplete contracts were routinely deemed
     unenforceable, typically on the ground that the indefinite term was evidence that the



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      the future to draft contract language with more precision, in
      essence implementing the Ayres/Gertner "penalty default"
      concept.2 7 That, however, would be a mistake. Yes, looking
      forward, standard-setting organizations ought to supplement the
      traditional RAND language with more specific information about
      exactly what the clause means. And one can easily imagine a
      future RAND clause that reads, say, "reasonable and
      nondiscriminatory, by which we mean that the patent holder has
      no right to an injunction" or "reasonable and nondiscriminatory,
      by which we mean to endorse patent law's traditional Georgia
      Pacific factors."2 8 But for the RAND commitments already in
      place, courts are stuck with only two choices: interpret the clause
      in light of its likely purpose, or strip it of meaning and in that
      way throw into turmoil the economics that undergird countless
      important consumer technologies. I myself favor the former
      approach, and so here I consider from three perspectives how
      RAND likely ought to be read.29
      A. The Economic Perspective
           From an economic perspective, the purpose of the RAND
      commitment is to ensure that patent holders are not able to earn
      exaggerated royalties merely because price negotiations have been
      delayed.o Without some sort of pricing commitment, this is exactly

      parties had not in fact reached agreement. The modem approach, however, is to allow
      courts to enforce incomplete contracts by filling in missing details. For discussion and
      analysis, see Omri Ben-Shahar, "Agreeing to Disagree": Filling Gaps in Deliberately
      Incomplete Contracts,2004 Wis. L. REV. 389, 393-94.
          27. Ian Ayres & Robert Gertner, Filling Gaps in Incomplete Contracts:An Economic
      Theory of Default Rules, 99 YALE L.J. 87,97 (1989).
          28. See Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120
      (S.D.N.Y. 1970) (articulating the now-famous list of considerations relevant to the
      calculation of a reasonable patent royalty).
          29. It is striking that, despite all of the problems with the RAND commitment,
      there have been very few court cases specifically addressing its meaning. Given how
      frequently this language is used and how ambiguous its meaning is, one would have
      thought that litigation about its proper application would be common. Yet, to date, there
      have been only a handful of cases. This might be a sign that RAND in fact works. I worry,
      however, that it is instead a sign that licensees are paying excessive royalties rather than
      fighting what would be messy court fights. That said, the paucity of litigation is an
      important real-world fact, and one that deserves further attention.
          30. This is a standard point. See, e.g., Swanson & Baumol, supra note 14, at 10
      ("[Tihe primary goal of obtaining RAND licensing commitments is to prevent IP holders
      from setting royalties that exercise market power created by standardization. ... ");
      Miller, supra note 11, at 363 ("[Mlost who have analyzed the RAND promise's meaning
      expressly describe it as a mechanism that should prevent a participant-patentee from
      using an injunction threat to hold up the adopter community for disproportionate royalty
      payments."). I should point out that RAND obviously accomplishes more than just this.
      For instance, RAND ensures that a patent holder will in fact license, rather than keep his
      patented technology exclusively for himself; and RAND also ensures that licenses will be



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     what would happen. The price for any technology included in the
     standard would go up simply because it was chosen." That is
     emphatically not the point of RAND. Standard-setting
     participants defer pricing negotiations because they want more
     information, or because they want to implement the relevant
     standard more quickly, or because they want to minimize upfront
     costs. But it seems implausible to think that standard-setting
     participants opt for RAND in order to randomly and artificially
     increase each patent holder's ultimate leverage.
          To see this point more fully, consider a situation in which
     two comparable technologies are vying for inclusion in a given
     standard: Dolby's high-fidelity audio compression codec on the
     one hand and DTS's rival audio compression technology on the
     other. Were prices being negotiated at the time of the selection,
     participants in the standard-setting process would compare the
     Dolby and DTS approaches. They would identify advantages and
     disadvantages, and they would ultimately offer the winner a
     price that reflected its marginal value as compared to the
     unsuccessful alternative. If the winning patent holder were to
     hold out for more, standard-setting participants would
     presumably threaten to switch to the second-best technology.
     Ultimately, a competitive bidding process would typically yield
     something close to the efficient price."
          Now consider what would happen if, instead of negotiating at
     the time of selection, standard-setting participants were to wait
      and negotiate a few years later. Two important considerations
     would by then have changed. First, a given licensee would by that
     point likely have made some technology-specific investments. The
     firm will have designed its products. It will have built
      manufacturing facilities. It will have made commitments to buy
      components from its suppliers. And it will have promised


     offered in a largely unbiased way, rather than with terms that strongly favor one licensee
     over another.
         31. The only possible exception to this statement would involve a case where, even
     after formal adoption, no firm invested in the standard prior to negotiating price. Put
     differently, if there is any patent-specific investment made by any firm, the relevant
     patent holder will be able to charge a higher price after standardization than he could
     have charged before. For the explanation, keep reading.
         32. None of this is to rule out the possibility that some technologies are unique and
     thus would not be substantially constrained by ex ante competition. If there were only one
     way to encrypt data for cellular transmission, for instance, the patent covering that
     technology would be worth a fortune no matter when its value was determined. Thus,
     when I refer to a competitive price, I mean only to refer to the price that would be
     assigned at a time prior to standardization. That price might be low. It might be high. But
     it would reflect the value inherent to the technology rather than the value created by the
     decision to standardize.



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      relevant functionality to downstream customers. A patent holder
      would be able to take advantage of all of those commitments,
      demanding a royalty that reflected not only the value of the
      patented technology as compared to next-best alternatives, but
      also the value that this licensee would place on avoiding
      disruptions to its already-made investments.
           Second, even if a particular would-be licensee has not made
      patent-specific investments, its peers will have-and that
      triggers a similar dynamic. Consider standards with respect to
      driving. Before driving norms were established, the value of
      "driving on the left" was roughly equal to the value of "driving on
      the right." Everyone surely agreed that all the drivers in any
      particular region ought to adopt the same default rule; but the
      choice between the two was likely a draw, and thus patents
      related to either one would have been of similar value. Once a
      great deal of traffic had opted for the right, however, the
      economics changed. A patent related to the idea of driving on the
      left was worth very little. A patent related to the idea of driving
      on the right was worth a fortune. The change had nothing to do
      with the relative merits of these two technologies. It was just an
      example of a more general phenomenon associated with
      standardization: patents related to a chosen standard increase in
      value as more people adopt the standard.3 4 This is then another
      problem with delayed patent negotiations. Patent holders who
      negotiate after standardization are able to charge prices that
      reflect the now-realized network value, in essence charging
      licensees for the fact that other licensees are already committed. 5

          33. This, too, is a standard point. See, e.g., Lemley, Ten Things, supra note 10, at
      153-54; Swanson & Baumol, supra note 14, at 10. Interestingly, if several patent holders
      each attempt to extort this kicker, they might in the end have to divide up its value.
      Suppose, for instance, that a producer would need to shut its plant for six months in order to
      change its hardware configuration. If one patent holder threatens to cause that disruption,
      that patent holder can demand a share of the value associated with avoiding a six-month
      delay. But if two patent holders each threaten to cause that disruption, each can demand at
      most half of the value of a six-month delay. Ask for more in the aggregate, and the producer
      will be better off undertaking the disruption and paying neither patent holder's ransom. For
      a perhaps overly optimistic discussion of this dynamic, see Lichtman, supra note 24, at 10-11.
          34. The only exception here would be a case where the choice was inevitable, for
      instance because as a practical matter only one standard was possible in the first place. In
      such a case, the value of the patented technology might not increase by virtue of being
      chosen because that value was by assumption inherent already. For a fuller discussion of
      this issue and of network effects more generally, see Stanley M. Besen & Joseph Farrell,
      Choosing How to Compete: Strategies and Tactics in Standardization,8 J. ECON. PERSP.
      117 (1994); Michael L. Katz & Carl Shapiro, Network Externalities, Competition, and
      Compatibility, 75 AM. ECON. REV. 424 (1985); and Michael L. Katz & Carl Shapiro,
      Technology Adoption in the Presence ofNetwork Externalities,94 J. POL. ECON. 822 (1986).
         35. The fact that a technology was chosen for a standard might increase the value
      ascribed to that technology in other ways as well. For instance, because standard-setting



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          From an economic perspective, then, the important work of
     the RAND commitment is to minimize these economic
     distortions." Participants in the standard-setting process might
     well intend to pay patent holders the royalties they would have
     gotten had sufficient time, cash, and predictive information been
     available so as to enable complete negotiation ex ante. And
     participants in the standard-setting process might also intend to
     pay each patent holder a bit extra as thanks for that patent
     holder's willingness to delay the price negotiation and in that
     way reduce the costs associated with the standard-setting
     process." But there is no reason to believe that standard-setting
     participants also mean to allow patent holders to hold hostage
     each participant's standard-specific investments, or to allow
     patent holders to arrogate to themselves the value created from
     the group's standardization effort.
     B. The PatentLaw Perspective
          From a patent perspective, the purpose of the RAND
     commitment is to reject patent law's default damages regime.
     Patent law, it turns out, does not award "reasonable" royalties.
     Quite the opposite, when a court decides that a valid patent has
     been infringed, the court typically imposes a remedy the net
     value of which clearly exceeds the value of any deal the parties
     would have made had they negotiated a license prior to the
     infringement. This exaggeration is explicit and intentional. But,
     with just one exception, the reasons for it do not apply in the
     RAND context.


     typically involves robust testing and certification procedures, selection of a given
     technology often acts as a credible endorsement of that technology's efficacy. Selection
     might also create a focal point, helping one technology stand out from the others in the
     mind of consumers or downstream producers. See Swanson & Baumol, supra note 14, at
     8-9 (discussing these and related theories).
         36.    See, e.g., SHAPIRO & VARIAN, supra note 13, at 241 ("Reasonable should mean
     the royalties that the patent holder could obtain in open, up-front competition with
     other technologies, not the royalties that the patent holder can extract once other
     participants are effectively locked in to use technology covered by the patent."); see
     also Swanson & Baumol, supra note 14, at 10 ("If the primary goal of obtaining RAND
     licensing commitments is to prevent IP holders from setting royalties that exercise
     market power created by standardization, then the concept of a 'reasonable'
     royalty . .. must be defined and implemented by reference to ex ante
     competition . . . .").
         37.    Participants in the standard-setting process have a strong incentive to treat
     participating patent holders well because otherwise patent holders might refuse to
     participate in the process. The costs there would be substantial: either the relevant
     technologies would not be able to be used, or the technologies would be used but then the
     patent holders would be able to charge unconstrained, not-so-reasonable prices. See
     Geradin & Rato, supra note 14, at 125.



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            1. The General Case for Exaggeration. One reason patent
      law intentionally exaggerates is that exaggeration encourages
      private parties to negotiate rather than litigate. The mechanism
      here is obvious: an infringer who knows that litigation will yield
      exaggerated liability has strong incentives to avoid litigation.
      This is good public policy primarily because judges and juries are
      not well equipped to value patented inventions. True, they might
      be able to make educated guesses based on the evidence
      presented; and they might even be as likely to overestimate as
      they are to underestimate. But, in any specific dispute, there is
      little reason to believe that judges and juries will come up with
      even a remotely accurate estimate for the value of the patent at
      issue.
            Private negotiation, by contrast, can be reliable so long as
      private negotiation takes place before the would-be infringer has
      made any investments that are specifically tied to the patented
      technology." In those circumstances, the negotiation between the
      patent holder and a potential infringer resembles a competitive
      interaction. The patent holder can ask for a high starting price;
      the potential infringer can counter by pointing to potential
      substitute technologies; and ultimately the process should yield a
      price that accurately reflects the marginal advantages of the
      patented technology.
            Exaggeration thus can serve a useful purpose. Whenever
      infringers are able to negotiate prior to making any patent-specific
      investments, exaggeration helpfully increases their desire to do
      so. The net result is a patent system where patents are more
      likely to be priced in the private market, and courts can therefore
      avoid the difficult task of valuing patented inventions
      themselves.
            The second justification for patent law exaggeration derives
      from the concern that, without exaggeration, infringers would
      have a strong incentive to hide their illegal activity instead of
      addressing it. My remarks thus far already speak to this

          38. My words are carefully chosen in the text, because stronger statements-say,
      "private negotiation is reliable so long as the negotiation takes place before the would-be
      infringer has made any patent-specific investments"-are simply not true. Recall, for
      instance, my example about the norms related to driving on the right side of the street. In
      that context, even if an accused infringer had not invested prior to negotiation, the
      negotiation would still be skewed if a substantial number of other firms had already
      invested. This is increasingly a problem for the patent system. The patent system's core
      assumption about the efficiency of private market transactions might have been valid in a
      world where products were typically covered by one and only one relevant patent, and a
      world where network externalities were not of significant economic import. But the
      modern world does not remotely meet either of those conditions, and that is one of many
      reasons why the patent system today is troublingly out of kilter.



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     concern in part. My first justification for exaggeration was that
     it creates an incentive for an infringer to negotiate prior to
     making patent-specific investments. Obviously, to negotiate, an
     infringer will have to identify himself to the patent holder, and
     thus an incentive to negotiate is simultaneously a disincentive to
     hide. But hiding is a bigger issue than just that. Consider, for
     instance, an infringer who neither knew nor could have known
     about a patent prior to making patent-specific investments. If this
     infringer later discovers the patent, he will be reluctant at that
     point to contact the patent holder and negotiate, because then the
     patent holder will hold hostage the infringer's already-made
     investments. Worse, this infringer will have an affirmative
     incentive to keep quiet. After all, the patent holder might never
     even notice the infringement and hence, if the infringer keeps his
     head down, he might never have to pay. The patent system on
     these facts faces a real challenge: the system needs to create an
     incentive for the infringer to identify himself, but at the same
     time it needs to protect him from an undesirable hostage
     situation."
          Exaggerated damages can solve this problem. Where there is
     evidence that the licensee reasonably could have stepped forward
     but chose not to, patent law can punish that choice by
     exaggerating.4 0 The infringer would suffer because of his decision


         39. Although this Lecture is not the place to explore the issue fully, I cannot help
     but point out another possible solution to this problem: deem the infringer's use of the
     invention perfectly legal. On the facts I sketch above, the accused infringer independently
     invented the patented invention. He did not copy it from the patent holder, he did not
     know about the patent itself, and he could not have discovered the patent had he engaged
     in reasonable efforts to find it. In that situation, patent law could in theory declare
     independent invention to be a complete defense to patent infringement. The patent
     system exists to reward patent holders for bringing inventions into meaningful public use,
     either through their own efforts or through proactive licensing. Here, the patent holder
     did no such thing, and the patent system could take that into account by refusing to
     recognize infringement. Many details of modem patent law would have to change in order
     to implement this sort of proposal in a way that continues to properly reward patentees
     for their accomplishments. For now, I only want to flag the concern. Defenses related to
     independent invention strike me as the most important next step in patent reform. They
     could pressure inventors to work harder at bringing their ideas to the public, and they
     could become an objective measure of whether a given invention actually was obvious-and
     hence unworthy of patent protection-at the time it was purportedly invented. For some
     provocative discussions along these lines, see Tun-Jen Chiang, A Cost-Benefit Approach to
     Patent Obviousness, 82 ST. JOHN'S L. REV. 39, 67 & n.120 (2008).
         40. See Roger D. Blair & Thomas F. Cotter, An Economic Analysis of Damages
     Rules in Intellectual Property Law, 39 WM. & MARY L. REV. 1585, 1640 (1998) ("Some
     enhancement of the patentee's [damages] award ... may be necessary to deter those
     infringers who know about the patent, or who could learn about it at a reasonable cost,
     but whose conduct otherwise might go undetected or undeterred."). Interestingly, there
     are parallel doctrines that are designed to encourage patent holders to step forward and
     identify themselves in instances where they know some third party is infringing. The



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      to hide, and in the long run that would encourage infringers in
      similar situations to step forward. By contrast, in cases where
      the licensee does step forward, patent law can promise to take its
      thumb off the scale, calculating royalties with an eye toward the
      royalty the parties would have struck had they been able to
      strike a deal before the infringer first invested. The parties would
      then hopefully foresee that evenhanded result and negotiate in
      its shadow. But the key point is that the backstop to their
      negotiation would be the threat of a truly reasonable royalty and
      not the threat of either a hostage-taking situation or exaggerated
      court remedies.4 '
           The third justification for patent law exaggeration is simply
      this: exaggeration is the way the patent system accounts for
      changes in patent uncertainty. Prior to litigation, there is
      almost always some uncertainty as to whether the patent at
      issue is valid, whether the patent at issue actually has been
      infringed, or both. That is, the accused infringer might plausibly
      argue that the patent should never have been issued, and the
      accused infringer might similarly argue that its technology is
      not covered by the patent's claims. Litigation resolves the
      uncertainty. Thus, when a patent holder prevails, the damages
      awarded naturally are higher than the royalties the parties
      would have negotiated prior to verdict. Negotiated royalties
      reflect uncertainty; court-determined royalties do not. Think of
      it this way: if prior to litigation a patent holder and a would-be
      licensee both agree that there is a 50% chance that the asserted
      patent is invalid, their private deal would reflect those doubts. The
      licensee would demand a discount as compared to a sure-thing
      royalty, and the patent holder would accept that discount in


      doctrine of laches serves this purpose, for example, in that it stops a patent holder from
      collecting backward-looking damages in instances where the patent holder unreasonably
      delayed in bringing suit and the delay resulted in material prejudice to the accused
      infringer. See Gasser Chair Co. v. Infanti Chair Mfg. Corp., 60 F.3d 770, 773 (Fed. Cir.
      1995), vacated on other grounds, 95 F.3d 1165 (Fed. Cir. 1996). Similarly, the Patent Act
      encourages patent holders to step forward by refusing to award damages for any
      infringement that took place more than six years prior to the filing of the complaint. See
      35 U.S.C. § 286 (2006). I am skeptical as to how effective these provisions are in practice,
      but it is interesting to see how these doctrines parallel the exaggeration doctrines
      discussed in the text.
          41. Exaggeration and hostage-taking are different in that one is calibrated by legal
      doctrines while the other is random. That is, when patent law is the source of the
      exaggeration, courts are in theory actively choosing the degree of exaggeration by (say)
      calibrating the relevant injunction or specifying whether damages ought to be doubled or
      tripled. In hostage-taking, by contrast, the extent of any overpayment turns on a number
      of arbitrary factors, including the amount the infringer has already invested in the
      patented technology and the number of other patent holders who are able to hold hostage
      that same sunk investment.



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     order to avoid the risk of a bad outcome. If that patent holder
     ends up successfully litigating the issue, however, the resulting
     court-ordered royalty should no longer reflect that 50% discount.
     Had the patent holder lost the case, he would have earned
     nothing. Given that he won, he should correspondingly earn the
     undiscounted award. Intuitively, that's what it means to take the
     risk of actually litigating the issues.42
          2. How Patent Law Exaggerates. There are many patent
     doctrines that implement patent law's exaggeration approach.
     These doctrines largely track the policy intuitions sketched
     above. An obvious example is the rule with respect to willful
     infringement. Under current law, if an infringer knew or should
     have known about a patent, and if that patent's validity and
     relevance is objectively clear, then the court can use its discretion
     to award up to triple damages.4 3 The logic is that, on those facts,
     the infringer was presumably in a great position to seek out the
     patent holder and negotiate a license prior to the infringement.
     The infringer knew or should have known about the patent; and
     the infringer should have paid up because the patent was so
     clearly valid and infringed. Courts therefore are empowered to
     triple the damages, thereby encouraging negotiation in similar
     future situations."
          Another way patent law implements its exaggerated
     damages regime is through the system's willingness to issue
     injunctions against future infringement.4 5 When a patent holder
     wins an infringement case, the patent holder typically requests
     not only cash for infringement that has already occurred, but
     also an injunction barring future infringement. The idea is that
     the injunction will force the infringer to negotiate with the
     patent holder, and thus the private parties will set their own
     forward-looking royalty rather than relying on the judge or jury

         42.   See Roger D. Blair & Thomas F. Cotter, Rethinking Patent Damages, 10 TEX.
     INTELL. PROP. L.J. 1, 40-42 (2001) (discussing this sort of risk analysis and its possible
     exceptions).
         43. See In re Seagate Tech., L.L.C., 497 F.3d 1360, 1377, 1381 (Fed. Cir. 2007)
     (Gajarsa, J., concurring) (articulating the modem willfulness doctrine).
         44. Discretion is an important part of the doctrine because willful damages are
     inappropriate in some instances where the formal test is nonetheless met. For instance,
     sometimes an infringer will hear of an obviously valid patent only after the infringer has
     made patent-specific investments. If the infringer were at that point to reach out to the
     patent holder, the patent holder would attempt to hold those investments hostage. Willful
     damages ought not punish the infringer for turning down that distorted deal. Quite the
     opposite, when faced with that situation, it is reasonable for an infringer to ask the court
     for an impartial valuation, rather than simply paying a clearly exaggerated royalty.
         45. See 35 U.S.C. § 283 (2006) (authorizing courts to grant injunctions in patent
     cases).



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      to do so.46 That negotiated royalty will be exaggerated, however,
      because of the sunk cost problem discussed earlier. 47 A firm that
      has already begun to use what turns out to be an infringing
      technology will typically also already have made investments
      specific to that technology. The firm's manufacturing facilities will
      already be tailored to produce the infringing component. The
      firm's contracts with its suppliers and its customers will already
      be tethered to that and not some other technical approach. As a
      result, the infringer will be willing to overpay for the technology,
      paying the intrinsic value of the technology as compared to its
      next-best substitute plus a kicker that reflects the savings
      associated with not having to change its production facilities or in
      other ways disrupt existing business relationships and practices.
           A third way patent law exaggerates is through a false
      assumption that is nevertheless routinely employed in damages
      analysis. When a patent holder sues for damages, he can request
      that a "reasonable royalty" be determined through what is known
      as a "hypothetical negotiation" framework. As explained by the
      courts, the hypothetical negotiation simulates the conversation
      that the infringer and the patent holder would have had if they
      had negotiated prior to the first act of infringement.4 9 The courts
      endeavor to run the simulation accurately, even going so far as to
      consider only information that was actually available at the time
      the negotiation would have occurred."o But courts then make one
      initially surprising move: they assume that both parties involved
      in the negotiation believe the patent to be valid and infringed."

          46. Sometimes, of course, the patent holder is not interested in negotiating at all,
      preferring instead to bar infringement and thus limit the number of firms using the invention.
         47.    See supra Part III.A.
         48.    The Supreme Court's recent decision in eBay, Inc. v. MercExchange, L.L.C.
      helps to check this form of exaggeration because a defendant in this position could
      convince the court that, under the eBay test, an injunction ought not issue. The court
      would then itself impose a forward-looking royalty that would not take into account
      patent-specific sunk costs. The law here is not sufficiently developed to know for sure
      whether that sort of argument will carry the day, but eBay at least opens the door. See
      eBay, Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).
          49. See, e.g., Radio Steel & Mfg. Co. v. MTD Prods., Inc., 788 F.2d 1554, 1557 (Fed.
      Cir. 1986) (explaining the hypothetical negotiation framework). Note that this approach
      inherently exaggerates, in that the value of the technology would be more accurately
      represented by the royalty the parties would have chosen had they been able to negotiate
      before the infringer made any patent-specific investments. Courts, however, mistakenly
      run the analysis at the time of the first infringement.
          50. See, e.g., Riles v. Shell Exploration & Prod. Co., 298 F.3d 1302, 1313 (Fed. Cir.
      2002) ("A reasonable royalty determination for purposes of making a damages evaluation
      must relate to the time infringement occurred, and not be an after-the-fact
      assessment.").
         51.    See Robert Goldscheider, The Employment of Licensing Expertise in the Arena of
      Intellectual Property Litigation, 36 IDEA 159, 174 (1996) ("Underlying the entire process



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    In reality, of course, there would almost always have been doubt.
    But this false assumption is made for the reason I discussed
    above: a patent holder whose patent survives litigation must be
    compensated for having incurred that risk, and so the royalty
    calculation made after verdict must build patent validity and
    infringement into the math.52
         3. Exaggeration and RAND. Reasonable minds can
    disagree over whether these various exaggeration techniques are
    in the end an effective way to address the public policy concerns
    that justify them. My own view is that these doctrines need to be
    more explicitly tied to their underlying policy goals, because
    today patent holders seem to abuse these rules by invoking them
    in situations where they ought not apply. For the purposes of this
    Lecture, however, my point is more narrow. Whatever its merits
    in general, exaggeration like this is for the most part
    inappropriate as applied to patents covered by the RAND
    commitment.
         The first policy consideration, the idea of encouraging
    negotiation prior to investment, is clearly inapt. The whole purpose
    of the RAND commitment is to allow patent holders and would-be
    infringers to delay negotiation. Yes, one consequence of that delay
    is that infringers and patent holders both miss out on the chance to
    negotiate prior to investment. And that is a real cost to the system:
    private negotiation prior to investment is surely a more accurate
    means by which to establish patent value than are alternatives like
    private negotiation after investment or explicit court
    determination. However, that is the choice RAND embodies. Thus,
    to the extent the RAND commitment is going to be enforced-and I
    have argued that it should be, at least with respect to deals already
    in place"-it makes no sense to impose exaggerated damages to
    punish the very delay RAND set out to accomplish.
         The second policy consideration-the concern about undetected
    infringement-also resonates poorly in the RAND context. Patent
    holders in conventional settings find it difficult to identify infringers
    because infringers tend not to speak up. Moreover, infringing
    products and processes can be hard to reverse engineer, and that
    too makes detection by the patent holder difficult at best. In the
    RAND context, however, these problems are either fully eliminated
    or substantially reduced. For one thing, participants in the


    within the scope of the hypothetical negotiation is the assumption that the patent
    involved is accepted by both parties as being valid and enforceable.").
        52.   See supra Part III.B.1.
        53.   See supra note 29 and accompanying text.




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      standard-setting process identify themselves publicly. No hiding
      there. Similarly, firms that produce products or implement
      processes consistent with a standard also typically self-identify.
      They label their products as standard-compliant, or the fact of
      standard compliance is obvious upon even casual inspection.
      Admittedly, that still leaves some special cases where the
      infringer's economic footprint might be so small that it goes
      unnoticed, or where the use of a particular standard is not evident
      on the face of the relevant product or process. Still, for the most
      part, detection is not a significant problem in the typical RAND
      setting and hence, when interpreting RAND, damages exaggeration
      cannot be readily justified on that ground.
            That leaves only the third policy consideration, the one keyed
      to patent uncertainty-and good thing. Patent uncertainty in the
      context of the RAND commitment plays out exactly the same way
      as it plays out in conventional patent settings. Prior to verdict, a
      potential licensee will offer a royalty that discounts for the fact
      that the patent rights are uncertain. After verdict, however, that
      uncertainty is resolved and the royalty should adjust accordingly.
      Indeed, the system would not work otherwise. Suppose that a
      patent holder and a would-be licensee both thought that there was
      a 25% chance that the patent at issue was valid. If at the end of
      litigation the court awarded only 25% of the sure-thing royalty,
      the entire negotiation dynamic would unravel. Prior to verdict, the
      would-be licensee would argue that the patent holder has only a
      25% chance of winning and, at that, will win only 25% of the
      sure-thing royalty. Thus the licensee would rationally offer a
      paltry 6.25% of patent value, in essence wrongly double-counting
      the 25% discount. Exaggeration is thus still necessary with respect
      to patent uncertainty, even under RAND.54
            Where does all that leave us? Injunctive relief primarily
      serves the first policy consideration and willful damages
      primarily serve the second.5 ' Both of these measures of patent
      damages should therefore be off the table in the RAND context.
      The exaggeration inherent in the reasonable royalty framework,

          54. See Brooks & Geradin, supra note 14, at 17 ("After a patent has been tested and
      the uncertainty eliminated, then what is 'fair and reasonable' no longer needs to include
      any 'uncertainty discount,' and should be substantially higher than would have been the
      case pre-litigation.").
          55. Courts are typically not explicit about these policy considerations, and thus
      injunctive relief and willful damages are sometimes used even in instances where policy
      considerations do not justify the practice. However, the rules about injunctive relief and
      willful damages are both very much in play today thanks to the recent eBay and Seagate
      decisions, and thus I am optimistic that both doctrines will increasingly be applied in
      ways that match their underlying policy purposes. See supra notes 43-44 (discussing
      Seagate) & 48 (discussing eBay).




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    by contrast, primarily serves the third policy consideration and
    hence that exaggeration ought to survive.
         There are several plausible ways to achieve these outcomes.
    Courts could interpret RAND as a public commitment that
    creates a defense of equitable estoppel." Under that estoppel, the
    patent holder would be deemed to have permanently waived his
    right to seek triple damages or to ask for injunctive relief, but
    would otherwise be allowed to invoke patent law's damages
    regime. Courts could just as well interpret RAND as creating an
    implied license, with the license rendering moot any claim to
    injunctive relief or triple damages, but leaving the court with the
    power to determine the royalty due." I do not mean to choose
    between these and other options here. I only want to emphasize
    that, no matter what doctrinal lens courts apply, the goal should
    be to trim patent law's damages regime such that the damages
    awarded ultimately approximate the royalty the parties would
    have negotiated prior to standardization plus a kicker for the
    now-resolved uncertainty.


        56. Equitable estoppel is typically understood to bar any form of prospective relief
    including damages. See, e.g., Jamesbury Corp. v. Litton Indus. Prods., Inc., 839 F.2d 1544,
    1554 (Fed. Cir. 1988), overruled on other grounds by A.C. Aukerman Co. v. R.L. Chaides
    Constr. Co., 960 F.2d 1020, 1042 (Fed. Cir. 1992) ("Estoppel prevents the patent owner
    from obtaining prospective relief, either an injunction or damages for infringement
    occurring after the filing of suit."). However, because the doctrine is an equitable rule,
    courts retain substantial discretion to tailor the estoppel to the facts at hand. See A.C.
    Aukerman Co., 960 F.2d at 1041 (asserting that equitable estoppel falls within the "sound
    discretion of the trial court" and is not controlled by particular factual circumstances or
    set rules). But see Lemley, supra note 7, at 1923 (expressing skepticism as to whether
    estoppel can apply in this context, primarily because estoppel typically has been invoked
    only in instances where a patentee has "induced others to believe it will not enforce the
    patent").
        57. This is Lemley's preferred solution. Lemley, supranote 7, at 1924-26.
        58. In addition to all of the above, there is one other aspect of patent law's default
    damages regime that seems inconsistent with at least some implementations of the
    RAND commitment. That inconsistency has to do with the use of information that was not
    available at the time of the first infringement. As I mentioned above, one framework used
    to calculate patent damages is the fiction of a hypothetical negotiation. The hypothetical
    is typically run using only information that would have been available prior to the first
    act of infringement, and courts explicitly disregard information about what actually
    transpired if it is inconsistent with then-current projections about what would transpire.
    See, e.g., Unisplay, S.A. v. Am. Elec. Sign Co., 69 F.3d 512, 518 (Fed. Cir. 1995). That is a
    plausible approach for a conventional patent case, in that conventional cases aspire to put
    both parties back into the positions they would have been in had they negotiated on time.
    However, such an approach is inconsistent with RAND in instances where the motivation
    for leaving price ambiguous was precisely to allow for new information to come to light
    and influence the royalty structure. That said, patent courts do already from time to time
    deviate from the standard approach, and RAND could therefore easily become a new
    court-made exception to the default. See, e.g., Fromson v. W. Litho Plate & Supply Co.,
    853 F.2d 1568, 1575 (Fed. Cir. 1988), overruled on other grounds by Knorr-Bremse
    Systeme Fuer Nutzfahrzeuge GmbH v. Dana Corp., 383 F.3d 1337 (Fed. Cir. 2004).



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      C. The AntitrustPerspective
            In The Wealth of Nations, Adam Smith famously warned
      that "[p]eople of the same trade seldom meet together, even for
      merriment and diversion, but the conversation ends in a
      conspiracy against the public, or in some contrivance to raise
      prices."" There is a substantial truth to that warning, and as a
      result antitrust authorities have been understandably skeptical
      of the entire standard-setting process. Yes, in some instances,
      overall efficiency can be significantly enhanced if erstwhile
      competitors are allowed to together agree on the fundamental
      rules for a new product or technology. Intuitively, the market for
      electrical appliances would be substantially burdened if, say,
      Black & Decker power tools required a rectangular outlet
      whereas Dell computers worked only with a round one. But
      coordination can also lead to inefficient, anticompetitive
      outcomes. Under the guise of the standard-setting process, firms
      can collude with respect to downstream prices, using patent
      cross-licenses to lock in uniform, minimum numbers. Firms
      similarly can use standard-setting to effectuate a buyer's cartel
      through which participating firms are able to target some third
      party's technology, refusing to pay more than a given,
      coordinated amount, if any amount at all.60
            When it comes to RAND pricing, however, the relevant
      question is a different one. The question relevant for RAND is
      not whether standard-setting processes promote or undermine
      competition. The question is whether competition is better served
      by a process where the standard-setting body publicly negotiates
      prices ahead of time as a group, or by a process where the
       standard-setting body uses RAND as a means by which to defer
       pricing details to later private, bilateral negotiations.
            That last phrase is important. The RAND commitment is
       itself only a first step toward establishing patent prices. After a
       standard has been promulgated, firms that wish to invoke the
       RAND commitment must still contact the relevant patent
       holders and negotiate their own bilateral deals. Those contracts


         59.   1 ADAM SMITH, THE WEALTH OF NATIONS 207 (P.F. Collier & Son 1902) (1776).
         60.   There is a vast literature exploring various antitrust objections to standard-setting
      in general and price coordination in particular. See, e.g., 2 HERBERT HOVENKAMP ET AL.,
      IP AND ANTITRUST: AN ANALYSIS OF ANTITRUST PRINCIPLES APPLIED TO INTELLECTUAL
      PROPERTY LAw § 35.5 (2d ed. 2010); Michael G. Cowie & Joseph P. Lavelle, Patents
      Covering Industry Standards: The Risks to Enforceability Due to Conduct Before
      Standard-Setting Organizations, 30 AIPLA Q.J. 95, 102 (2002); Skitol, supra note 16;
      Patrick D. Curran, Comment, Standard-SettingOrganizations:Patents, Price Fixing, and
      Per Se Legality, 70 U. CHI. L. REV. 983, 998 (2003).



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    are where "reasonable" and "nondiscriminatory" are translated
    into dollars and cents, and those deals are typically
    confidential documents seen only by the specific patent holder
    and the corresponding patent licensee. Thus any risk of
    anticompetitive collusion drops sharply. When Nokia was
    negotiating the specifics of its patent license with Qualcomm,
    for example, Nokia had every incentive to fight tooth and nail
    for a low rate. It did not matter if (say) the group had hoped
    that its members would unlawfully conspire to keep prices high
    across the board. When Nokia and Qualcomm were alone and
    outside the view of their peers, those two firms surely pulled
    and tugged in support of their own commercial self-interests.
    Of course, every other participant in that same standard-setting
    process ultimately found itself in a similar, overlapping,
    confidential, bilateral negotiation. The net result was therefore
    presumably a dynamic that looked a lot like uncoordinated,
    competitive pricing.
         Framed another way, collusion typically works either
    because the colluding parties have no incentive to defect from the
    group's nefarious plan or because defection can be readily
    detected and punished by the other colluding parties." Neither of
    those statements is true as applied to RAND. So, for instance,
    retailers in a given city might collude to sell the latest video
    games at a price of $50 or above. They might do so because,
    without an agreement, competitive pressures would drive that
    price down to $20, leaving the retailers with little profit. This
    sort of collusion is plausible because each retailer can watch the
    other retailers to determine if they are fulfilling their end of the
    bargain. Lower the price for a quick sale, and the other retailers
    will likely notice and respond.
         Alternatively, the retailers might collude in a more clever
    way, specifically by implementing a price-matching guarantee
    under which each retailer promises its customers that it will
    match the lowest price offered by any other retailer in the city.
    This time, collusion works because no retailer has any incentive
    to defect. Indeed, the dominant strategy for each retailer is to
    choose a high price and stick with it. Customers who are not
    comparing prices will just pay that high price and be satisfied.
    Customers who are comparing prices will see a lower price
    elsewhere, invoke the price-matching policy, but then buy from
    the original retailer anyway. Importantly, if each retailer
    analyzes the situation this same way, each will simply choose a

       61.    For a fun and readable introduction to these topics, see generally Christopher R.
    Leslie, Trust, Distrust, and Antitrust, 82 TEX. L. REV. 515 (2004).




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      high price, and thus the price-match promise will never in fact be
      invoked. Collusion is thus achieved without any monitoring
      because no retailer wants to defect.62
           My point? The RAND dynamic fits neither of these stories.
      Participants in standard-setting cannot enforce a collusive pricing
      scheme because the bilateral deals they implement are not public.
      That makes monitoring all but impossible." And even if the RAND
      commitment were in truth a collusive strategy designed to benefit
      each standard-setting participant in the long run, each would
      nevertheless feel enormous pressure to defect from that strategy
      when negotiating its own private, bilateral deals. As I said above,
      Nokia wants to pay Qualcomm as little as possible for Qualcomm's
      patents and to receive from Qualcomm as much as possible for
      Nokia's patents. Those are exactly the incentives Nokia would
      have faced had there been no standard in the first place, and those
      incentives remain fully intact after a RAND commitment has
      been made. The idea that the RAND commitment supports
      some nefarious form of standards-based collusion, then, seems
      far-fetched." An explicit, public, and enforceable industry-wide
       agreement as to price would be much more dangerous.

         62. See Aaron S. Edlin, Do Guaranteed-Low-PricePolicies Guarantee High Prices,
      and CanAntitrust Rise to the Challenge?, 111 HARV. L. REV. 528, 536-39 (1997).
          63. This inability to monitor is to be celebrated to the extent that it stops
      anticompetitive collusion, but it is to be mourned to the extent that it interferes with what
      would otherwise be beneficial group policing. For example, because bilateral deals are
      shielded from public view, it is very difficult for standard-setting participants to enforce
      the "nondiscriminatory" portion of the RAND commitment.
          64. I should point out that my remarks here assume that the RAND commitment is
      interpreted consistently with my remarks earlier in this Lecture. If RAND is not read that
      way, then the antitrust issues could be more significant. For instance, my interpretation
      sharply reduces the risk that a patent holder will be able to demand a royalty that exceeds
      the royalty he would have earned had all the relevant negotiations occurred prior to the
      standard being adopted. If that view is rejected, then RAND could be part of a collusive
      arrangement. A group of patent holders would vote one another's patented technologies into
      the standard, and then each would extract exaggerated royalties from implementing firms.
      RAND would make that bad act less obvious, because the prices actually charged would be
      confidential and hence harder for government authorities to evaluate. Central to my
      antitrust analysis, then, is an assumption that the patent damages issues are resolved in a
      way that appropriately constrains each patent holder's market power.
          65. I want to emphasize again, however, that ex ante explicit group prices do have
      some offsetting charms. For instance, ex ante public prices would allow standard-setting
      participants to account for cost when comparing different suggested technical approaches.
      Ex ante public prices would also make more enforceable any nondiscrimination
      commitment. See supra note 63. Moreover, ex ante public prices would help patent holders
      coordinate in ways that might ironically reduce prices. See Douglas Lichtman, Property
      Rights in Emerging Platform Technologies, 29 J. LEGAL STUD. 615, 624-26 (2000)
      (explaining why firms might coordinate to reduce prices when, as here, they are each
      selling a complementary good); Lemley, Ten Things, supra note 10, at 159-61 (also
      discussing Cournot complementarity). Thus, while ex ante explicit group pricing could be
      abused, it could also promote efficiency, beneficial coordination, and competition.



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                                      IV. OTHER VIEWS
          If my analysis thus far is correct, the RAND commitment is,
     at its heart, a mechanism by which private parties can delay
     pricing negotiations without inadvertently skewing the outcome
     of those negotiations. It is an implicit rejection of the standard
     patent damages regime (which would very much skew the
     outcome), and it is less problematic on antitrust grounds than the
     only obvious alternative: a group-wide, ex ante, explicit
     conversation about price.
          Where, then, might other voices disagree? The most
     controversial part of my interpretation is the piece about patent
     damages. Most commentators clearly agree with me, echoing in
     whole or in part my concerns about triple damages and injunctive
     relief." But, some commentators-and, most importantly,
     Qualcomm itself-have taken the position that a patent holder
     can invoke patent law's classic damages regime even after having
     agreed to RAND." The details of this contrary position have not
     yet been fully fleshed out. The academic commentary is thin, and
     Qualcomm's several RAND cases all settled before Qualcomm's
     view was fully documented. Nevertheless, I think it is easy to
     anticipate what this position would look like, and important to
     articulate it and make clear why it cannot possibly be right.
           One possible interpretation would read the RAND
     commitment as simply a promise to make a reasonable offer. On
     this view, a patent holder subject to the RAND commitment must
     offer a reasonable royalty to each interested licensee; however, if
     a licensee rejects that offer, all bets are off, and the patent holder
     is at that point free to exercise its patent rights as if there had
     been no RAND commitment. I reject this interpretation because
     its predictable implication is to overcompensate patent holders.
     After all, there will always be enormous uncertainty over
     precisely what is and is not a reasonable royalty. Yet if the
     RAND commitment were read this way, a licensee who in good
     faith disagreed with a patent holder could pursue that
     disagreement only by taking the risk of paying double, triple, or

         66. See Lemley, Ten Things, supra note 10, at 153, 158 ("The patentee has forgone
     the opportunity to sue for patent infringement and to seek injunctive relief and treble
     damages."); Miller, supra note 11, at 374-78 (suggesting that courts interpret RAND to be
     "an irrevocable waiver of the patentee's right to extraordinary relief for infringement, i.e.,
     an injunction. . . or enhanced damages for willful or bad faith infringement").
         67. See, e.g., Gerardin & Rato, supra note 14, at 116-19 (arguing that patent
     holders ought to have the right to request injunctive relief unless they explicitly waive
     that right); Qualcomm Incorporated's Brief, supra note 15 ("ETSI policies do not contain
     any provision precluding members from seeking injunctive relief when an infringer and
     potential licensee has rejected a FRAND licensing offer from the patent holder.").



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      more, depending on the details of patent law's exaggeration
      regime. As a result, licensees would rationally accept high
      royalties, because the certainty of overpaying slightly would be
      more attractive than the distinct possibility of overpaying by a
      multiple.
           A variant on this theme would be an interpretation that
      protects licensees, but only so long as they engage in good faith
      negotiation. That approach has some charm, but it puts
      enormous pressure on courts to determine whether a licensee is
      acting in good faith. I would not object to that if the test were a
      conservative one, such as a rule that imposed exaggerated
      damages only in instances where some smoking-gun e-mail made
      bad faith plain. But I worry about less reliable tests in that they
      would create the same uncertainty that I sketched above: a
      licensee acting in good faith would worry that a court might later
      misconstrue those intentions, and because of that the licensee
      would knowingly accept a moderately high royalty in order to
      avoid the risk of an astronomical one.
           Another interpretation that would leave the door open to
      triple damages and injunctive relief is an interpretation under
      which the patent holder would be required to continually extend
      a reasonable offer, even after a licensee has previously turned
      down that offer. The idea here is that the would-be licensee's risk
      would be capped: the licensee would be exposed to exaggerated
      damages for as long as the dispute raged, but the licensee could
      end that exposure at any time by accepting the patent holder's
      always-open offer. The problem this time is that the period of
      exaggerated damages could still be significant, because patent
      litigation and its reasonable appeals can easily last years. This
      would again put an enormous thumb on the scale, pressuring
      licensees to accept a royalty that is higher than reasonable but
      not so high so as to warrant the risks of litigation.
            In resisting these alternative views, I do not mean to ignore
      the opposite problem: under my interpretation, RAND does little
      to encourage standard-setting participants to negotiate rather
      than litigate.6 8 Remember, patent law solves this problem by
      threatening to impose exaggerated damages on any infringer who
      could have negotiated, and should have negotiated, but in fact


          68. See Geradin & Rato, supra note 14, at 117-19 (expressing concern that, under
      interpretations like my own, "patentees would arguably prefer to settle for a license on
      terms that would not provide a fair return on their investment, in other words terms
      which would not comply with FRAND, rather than face lengthy, onerous and uncertain
      court proceedings for the award of damages"); Miller, supra note 11, at 390 (raising
      similar concerns).



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     did not. RAND dismantles that exaggerated remedy regime (for
     good reason) but then offers nothing to replace it. The upshot
     might be that patent holders who agree to the RAND
     commitment will in the end be undercompensated. They will
     have to either discount their rates in order to lure licensees to the
     table or incur the costs, risks, and delay of litigation in order to
     ultimately be paid their due. I favor this distortion over the
     opposing one, however, because it should be much smaller. The
     cost of litigation can be large, but it will almost always be
     rounding error when compared in size to the exaggeration built
     into patent law's damages regime. Besides, courts in fact offset
     much of this distortion by requiring adjudged infringers to pay
     expenses, attorney's fees, interest, and the like.69

                                       V. CONCLUSION

          My ambition in this Lecture was to articulate the reasons
     why firms in the standard-setting context opt for the RAND
     commitment rather than explicitly negotiating price, and
     relatedly to explain what the RAND commitment as a result
     likely means. My answers are hopefully by this point evident.
     Firms choose RAND because they want to delay pricing
     negotiations without inadvertently skewing the outcome of those
     later deals. As a result, RAND must be interpreted to reject
     much of the conventional exaggerated patent damages regime."
     The result is not a perfect framework for patent licensing.
     However, there is no obvious story about anticompetitive
     behavior; the possibility of voluntary delay does open the door to
     significant efficiencies; and, surprising as it might be, firms
     involved in standard-setting obviously believe that those
     efficiencies outweigh the associated costs.
          Am I therefore a fan of the current RAND approach? Hardly.
     The success of the RAND commitment in the end turns on the


         69. See Miller, supra note 11, at 390 (suggesting that fees be shifted "in cases where
     the reasonable license terms the court sets are not materially different from those the
     patentee had been willing to accept before the litigation").
          70.     One interesting implication: patents subject to a RAND commitment ought not be
     eligible for any remedy at the International Trade Commission (ITC). As readers here surely
     know, patent holders are in general able to bring patent cases either in federal district court
     or at the ITC. In federal court, a patent holder can sue for money and also injunctive relief.
     At the ITC, a patent holder can sue for an importation ban that would bar infringing
     products at the border. In this Lecture, I implicitly focus on district court litigation, and I
     therefore argue that injunctive relief is not appropriate in the context of a RAND
     commitment. As applied to ITC proceedings, however, the same logic would suggest that
     importation bans are also inappropriate. For general background on the ITC and its role in
     patent litigation, see Vivek Koppikar, Evaluating the International Trade Commission's
     Section 337 Investigation, 86 J. PAT. & TRADEMARK OFF. Soc'Y 432, 434 (2004).



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      ability of a court to calculate a non-exaggerated reasonable
      royalty. If courts tend to pick royalties that are too high, then
      private parties negotiating in the shadow of litigation will also
      choose too-high rates. If courts tend to pick royalties that are too
      low, then private parties will similarly strike inefficiently modest
      deals. The only plausible happy story is a story where courts
      have no predictable or systematic bias. Of that I am enormously
      skeptical.
           More broadly, though, I dislike RAND as it exists today
      because it could easily be so much more. This is a clause invoked
      by a veritable who's who of technology and electronics companies.
      One would think that when firms of that caliber gather together
      to establish an elaborate agreement about the future of some
      promising new technology, they would at the same time opt out
      of the default legal regime and establish their own expert
      arbitration process to resolve future disputes accurately and at
      an appropriate pace. But no. That frankly boggles the mind.
      Where conflicts are a surprise-for instance, any classic tort-the
      default legal regime is the only option. Prior to a car crash, I
      cannot by contract agree with the other driver that we will use a
      more efficient mechanism for allocating fault. But here,
      sophisticated private parties can foresee conflict, they know that
      the subject matter of that conflict will be enormously difficult for
      a lay judge or lay jury to evaluate, and they are already in
      contact with one another through the standard-setting process.
      Private dispute resolution should naturally follow."
           So, yes, because billions of dollars are today at stake across a
      host of important industries, courts should interpret RAND with
      an eye toward the purposes and policies articulated here. And
      yes, as new RAND commitments are written, standard-setting
      participants ought to make explicit their repudiation of patent
      law's exaggerated damages regime. But just as important,
      standard-setting organizations in the future need to invest in
      alternative dispute resolution. RAND as it exists today can only
      be as good as the courts that will enforce it. And with so much
      inventive activity on the line, that seems hardly good enough.



          71. Again, I am joined here by a chorus of academic voices. See, e.g., Miller, supra note
      11, at 392-93 ("Because the linchpin of a RAND license dispute is essentially factual-what
      term is reasonable and nondiscriminatory, under the circumstances?-arbitration by
      someone with technical or licensing knowledge is especially fitting."); Lemley, supra note
      7, at 1966 (arguing that private dispute resolution would be "quicker and cheaper than
      resorting to the courts" and "may also permit the disputants to take advantage
      of... industry expertise").



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                           EXHIBIT 19




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            IPR issues and ITU’s
          standardization activities


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                                                                                         International
                                                                                         Telecommunication
      12 January 2011 – Thunderbird School of Global Management                          Union

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                           ITU in brief

      ITU is the leading UN Agency for information
      and communication technologies
      ITU’s work spans three core sectors:
      □ Radiocommunication
      □ Standardization
      □ Development
      □ … and ITU TELECOM Events
      ITU’s membership includes 192 Member
      States and more than 700 Sector Members
      and Associates

                                                                                International
                                                                                Telecommunication
                                                                                Union

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           ITU’s Legal Framework

      Treat-based organization
      The Plenipotentiary Conference (PP) is the top
      policy-making body of the Union
      □ Meets every four years
      ITU Council acts on behalf of the
      Plenipotentiary Conference in between PPs
      □ Meets annually
      □ Composed of 48 Member States


                                                                                International
                                                                                Telecommunication
                                                                                Union

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                           Our Mission

      Help bridge the digital divide

      Manage radio spectrum

      Develop international standards




                                                                                 International
                                                                                 Telecommunication
                                                                                 Union

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       Global Standards: Supporting
                Innovation


        ITU standards’ work done mostly in Study
      Groups
        Produce “recommendations” (i.e.
      international non-binding standards)
        Partnership between private sector &
      government
        Consensus-based approach, flexible process
        Fast, transparent, equitable procedures

                                                                               International
                                                                               Telecommunication
                                                                               Union

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                   ITU’s Patent Policy

      Since 2007, ITU, ISO/IEC have a common
      patent policy

      Purpose: To ensure that patents embodied in
      ITU Recommendations (standards) are
      accessible to everyone without undue
      contraints.




                                                                                International
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               ITU’s Patent Policy

      No technical limitations on the inclusion of
      patents in ITU standards.
      Disclosure rule:
         “…any party participating in the work of
         ITU, ISO or IEC should, from the outset,
         draw the attention of the Director of ITU-
         TSB, the Director of ITU-BR or the offices of
         the CEOs of ISO or IEC, respectively, to any
         known patent or to any known pending
         patent application, either their own or of
         other organizations…”
                                                                                International
                                                                                Telecommunication
                                                                                Union

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           Current issues debated


      Most IPR issues arising in ICT standardization
      are very complicated
      IPR policies of major ICT standardization
      organizations (“SDOs”) are similar
      SDOs believe their IPR policies are effective
      General belief that RAND policies work well
      because they reflect a balanced approach
      Commercial motivations often underline some
      of the more contentious debates in ICT
      standardization
                                                                                International
                                                                                Telecommunication
                                                                                Union

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           Current issues debated

      Transfer of the patent

      Definition of RAND

      Ex Ante debate

      Open Standard



                                                                                International
                                                                                Telecommunication
                                                                                Union

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                     Transfer of the patent


      Is the licensing commitment made by the original
      patent holder binding on later owners of the patent ?
         Depends on specific legal jurisdiction
      US: FTC v. N-DATA Complaint
      FTC believed that N-Data violated Section 5 of the FTC
      Act by engaging in unfair methods of competition and
      unfair acts or practices regarding its enforcement of
      patents essential to implement a computer network
      standard
      N-Data reneged on a prior licensing commitment to a
      standard setting body not to increase the price of its
      technology
                                                                                  International
                                                                                  Telecommunication
                                                                                  Union

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      How is RAND determined and by whom ?


      No uniform definition of RAND
      The licences and their prices are generally
      negociated on a bilateral basis between the
      patentee and each licencee, outside the SDOs
      The licensor and the licensee may not agree
      whether the offered terms and conditions are in
      compliance with the patent policy of the SDO
      Disputes are settled outside the SDOs between
      the parties concerned based on the applicable law


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                                                                                  Telecommunication
                                                                                  Union

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                      Ex ante debate

      The ex ante term may involve several things
      Most SDOs support ex ante disclosure of:
      □   Patents likely to have essential claims
      □   Commitment to offer a license to essential claims
      □   Voluntary disclosure of licensing terms
      Almost no SDOs mandate the discussion of
      licensing terms or authorize group discussion
      of the proposed licensing terms



                                                                                 International
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                                                                                 Union

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                        Ex ante debate
      Some believe that:

        The ex ante disclosure of licensing term may facilitate
        informed decisions by the participants in the standard-setting
        process, and enables competition based on both technology
        and price when deciding on a standard

        It may avoid disputes over the licensing terms after the
        standard has been adopted and facilitate rapid implementation
        of adopted standards




                                                                                   International
                                                                                   Telecommunication
                                                                                   Union

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                       Open Standards
      No universally accepted definition of this term

      ITU definition:

        Standards made available to the general public and are
        developed (or approved) and maintained via a collaborative
        and consensus driven process;

        Other elements of "Open Standards" include, but are not
        limited to: reasonably balanced; due process; IPRs (“RAND”
        policies); quality and level of detail; publicly available;




                                                                                   International
                                                                                   Telecommunication
                                                                                   Union

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                     Open Standards

      A minority believes that “open standards”
      should be « free to use »

      This new definition can have negative effects

        On SDOs that have “RAND” policies

        On patent holder participation in SDOs

        On innovation


                                                                                 International
                                                                                 Telecommunication
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      Number of Patent Declaration
      Statements received by region




                                                                              International
                                                                              Telecommunication
                                                                              Union

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      Declared Licensing options over
              the last decade




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                                                                               Telecommunication
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      Patent Declaration Statements
       per area of standardization
      8 of the 23 areas of standardization have
      received no Patent Declaration Statements
      The areas of standardization that receive most
      Patent Declaration Statements relate to voice
      over IP and multimedia codecs (G & H Series).




                                                                                International
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                                                                                Union

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                          Useful links

      ITU home page: www.itu.int
      History and landmarks:
      http://ww.itu.int/net/about/history.aspx
      ITU-T home page (ITU’s standardization
      activities): http://www.itu.int/ITU-
      T/index.html
      Patent Policy: http://ww.itu.int/ITU=T/ipr
      Patent database:
      http://www.itu.int/ipr/IPRSearch.aspx?iprtype
      =PS
                                                                                International
                                                                                Telecommunication
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                           EXHIBIT 20




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       Promoting Competition and Innovation:
       What You Need to Know about the IEEE Standards
       Association’s Antitrust and Competition Policy
       Antitrust and competition laws throughout the world rest on the premise that competition
       in the provision of products and services is the best way to ensure that consumers and
       other users receive maximum innovation and quality at the lowest possible prices. But
       sometimes effective competition requires a measure of cooperation among competing
       firms.

       Standards development is one of those areas. Standards development serves one part of
       the IEEE’s mission – advancement of global prosperity by fostering technological
       innovation – but it can do so only if the standards development is conducted consistent
       with the antitrust and competition laws that regulate the nature and extent of cooperation
       in which competitors can legitimately engage.

       The IEEE-SA is an international membership organization that provides a standards
       program serving the global needs of industry, government, and the public. A violation (or
       claims of violation) of competition laws will jeopardize what all participants are working so
       hard to build; will impede the IEEE mission; and may expose participants and their
       employers to the risk of imprisonment and other criminal penalties, civil remedies, and
       significant litigation costs. Even if a competition-law case or investigation is ultimately
       dropped, that will often happen only after the parties have spent considerable resources in
       responding to information requests and defending against the claims.

       The IEEE-SA wants to help all of its participants avoid competition-law problems. Many
       IEEE-SA participants receive antitrust/competition-law compliance training from their
       employers, and IEEE-SA participants should always consult with their own or their
       company counsel when they have competition-law-related questions. This brochure is not
       intended to replace that competition-law training, advice, or other competition-law-related
       resources that participants may have available to them; rather, this brochure is intended
       to highlight the competition-law risks that are most pertinent to standards development
       and to explain the IEEE-SA’s policies with respect to competition law matters.

        1. General Background

       What are the antitrust and competition laws? In the U.S., it is called “antitrust law,” and
       elsewhere it is called “competition law.” But regardless of the label, most countries have
       substantially similar laws regarding this matter. Generally speaking, most of the world
       prohibits agreements and certain other activities that unreasonably restrain trade.



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       What is monopolization? Monopolization is the obtaining of a monopoly – the ability to
       obtain profit by restricting output and selling at a higher price – through wrongful means.
       For example, a company might unlawfully convert its patents into monopoly power by
       misleading other participants in the standards organization into incorporating the
       company’s patented technology into a standard under the false impression that no patents
       were involved.

       What are some examples of agreements that unreasonably restrain trade? Competition
       authorities throughout the world uniformly condemn actions that are referred to as “naked
       restraints on trade” – that is, agreements that do nothing more than limit competition
       between competitors. The classic examples that could arise in the standards process –
       and the kinds of violation that most frequently result in significant jail time for the
       participants – include:

              •   price fixing (for example, where standards participants or other competitors
                  agree on the prices that they will charge for compliant products);

              •   output restrictions (for example, where standards participants or other
                  competitors agree on how much of a compliant product they will each produce);

              •   allocations of customers or territories (for example, where competitors agree on
                  where or to whom they will each sell compliant products).

       Other kinds of violations can also arise in the standards process. For example, selecting
       one technology for inclusion in a standard is lawful, but an agreement to prohibit
       standards participants (or implementers) from implementing a competing standard or
       rival technology would be unlawful – although as a practical matter, a successful standard
       may lawfully achieve this result through the workings of the market.

       So is it okay to talk about prices or output levels in an IEEE-SA meeting as long as we
       don’t reach an agreement? No, it’s not okay. First, you can’t always control where the
       discussion will go – it may end up in undesired areas. Second, if agreeing on the subject
       would be unlawful (such as the respective selling prices of compliant products), then that
       subject should not be discussed. And third, it’s not up to you to decide whether your
       words and conduct amount to an agreement – in the U.S., that decision gets made by a
       judge using the peculiar rules of evidence that only courts use and by a jury that is
       unlikely to know anything about your industry or business. The whole question about your
       actions will come up after the fact, and with the sure vision of hindsight, any questionable
       discussion or debate could be seen to have led to a tacit if not an explicit agreement that
       is prohibited by law. Do not put the IEEE, your company, your colleagues in the standards
       community, or yourself at risk by discussing these topics.

       So can we discuss costs of components or patent licenses? The IEEE-SA permits certain
       discussion of costs, subject to some important limitations. See subclause 5.3.10.3 of the
       IEEE Standards Board Operations Manual and Section 2 and Section 4 of these Guidelines.




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       What else can we discuss? IEEE wants you to have the maximum flexibility to discuss
       topics relevant to developing a standard while also adhering to certain rules designed to
       minimize risk. It is impossible to identify all the topics that you can discuss, but here are
       some that you cannot discuss:

              •   prices at which products or services implementing the standard should be sold
                  (“price” includes discounts, terms, and other conditions of sale);

              •   profits or profit margins;

              •   individual companies’ market shares or sales territories;

              •   allocation of customers, markets, production levels, or territories; or restricting
                  the customers to whom, or territories in which, a company may sell or resell
                  products;

              •   using standards or certification programs to exclude suppliers or competitors
                  from the marketplace for any reason other than cost-performance or technical
                  considerations;

              •   conditioning the implementation of a standard on the implementer’s use of
                  products or services from a particular supplier [such as requiring use of a
                  particular manufacturer’s components or requiring implementers to use a
                  particular service provider(s) for compliance certification];

              •   bidding (or terms of bids) or refraining from bidding to sell any product or
                  service;

              •   any matter which restricts any company’s independence in setting prices,
                  establishing production and sales levels, choosing the markets in which it
                  operates, or the manner in which it selects its customers and suppliers.

       In addition to topics that are prohibited on purely competition-law grounds, certain topics
       are not productively discussed in technical standards-development meetings. The IEEE-SA
       Standards Board Operations Manual prohibits discussion of these topics as well:

              •   The status or substance of ongoing or threatened litigation;

              •   The essentiality, interpretation, or validity of patent claims;

              •   Desirable versus undesirable terms of patent licenses;

              •   Specific patent license terms or other intellectual property rights, other than
                  distribution of Accepted Letters of Assurance as permitted under the IEEE-SA
                  patent policy (see section 6.2 of IEEE-SA Standards Board Bylaws). (For
                  guidance on this topic, see section 2 below.)




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       What if our meetings occur outside the U.S.? Whose law governs? Most countries will
       apply their antitrust and competition laws to any conduct that has a substantial effect in
       their country, regardless of where that conduct took place. The IEEE-SA’s Antitrust and
       Competition Law Policy applies to IEEE-SA activities wherever the meetings occur.

       2. Cost Discussions

       Discussion of the cost of inputs necessary to create a compliant implementation of a
       standard are treated differently from discussions of prices at which compliant
       implementations can or should be sold. There is no useful or appropriate reason to discuss
       selling prices of implementations – each implementer of the standard should use its own
       independent business judgment to make that decision. In contrast, there is a legitimate
       reason to discuss costs of inputs used in implementation.

       Different technical approaches may have different benefits, and a sensible comparison
       may involve an understanding of whether or not the technical differences would justify the
       cost differential (if known). Nevertheless, as a matter of policy, the IEEE-SA recommends
       that meetings of technical experts remain just that – technical meetings. While technical
       meetings should remain focused on the complexity, performance, and quality implications
       of proposals, they should also permit sufficient discussion to enable participants to
       understand the relative cost differentials (or to be able to take information back to their
       respective companies to have that kind of discussion and analysis internally).

       With regard to the costs of inputs used in implementing a standard, the only permitted
       discussion is the degree to which such costs may differ. Examples of permissible
       discussion topics would include differences in comparative component costs, operating
       costs, licensing costs, or the aggregate of such costs. The importance of this restriction on
       discussion is reinforced by the understanding that participants in the development of a
       standard often come from multiple stages of the supply chain (e.g., the input cost of a
       component to a system manufacturer is the output price of a component supplier).

       Thus, in standards development technical activities, participants may discuss the relative
       costs (in terms, for example, of percentage increases or decreases) of different proposed
       technical approaches in comparison with the relative technical performance increases or
       decreases of those proposals. However, participants are not to discuss any specific patent
       licensing terms and conditions (including any pricing information).

       Discussion of relative costs in technical standards-development meetings should be
       presented in a way that can be substantiated and that permits other participants to
       replicate the cost analysis. Participants are reminded that false or misleading cost
       comparisons carry their own legal risks. Moreover, actual costs may well differ from one
       implementer to another.

       There may be costs associated with patent claims identified in an Accepted Letter of
       Assurance (or “Accepted LOA,” which is defined in subclause 6.1 of the IEEE-SA Standards




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       Board Bylaws). Those costs may be included in comparisons when appropriate but only on
       a relative basis, subject to the procedural and other direction discussed in these
       guidelines. However, specific licensing fees, terms, and conditions, or the meaning,
       validity, or essentiality of the patents with which they are connected are not permissible
       topics of discussion. For examples of permissible relative cost comparisons, see Section 4.

       A patent-holder’s disclosure of its maximum royalties and other licensing fees and terms
       is completely voluntary. Patent-holders who have not voluntarily disclosed maximum
       terms shall not be coerced into disclosure.

       Thus, participants, through either discussions or relative cost comparisons, shall not
       criticize any particular Accepted LOAs for not providing specific maximum terms or coerce
       any patent holder into supplying such terms. Nevertheless, a participant or a comparison
       may state that some cost elements of a particular technology approach are not known
       (because maximum terms have not been included in an Accepted LOA).

       The IEEE-SA believes that, as a general matter, having more information – including cost
       information – is better than having less. This does not mean that cost should be the sole
       or exclusive factor in technology selection. Relative costs can be a factor in technology
       selection, as can the absence of cost information. Nonetheless, the IEEE-SA has not
       created any policy expectation, endorsement, or presumption in favor of selecting a
       technical approach for which a patent holder has disclosed its maximum fees and terms.
       Participants in IEEE-SA standards-development activities are free to exercise their own
       judgment as to whether a proposal with higher known relative costs (including costs of
       potentially Essential Patent Claims) is or is not superior to a proposal with lower known
       relative costs (including costs of potentially Essential Patent Claims).

       Again, participants should never discuss the price at which compliant products may or will
       be sold, or the specific licensing fees, terms, and conditions being offered by the owner of
       a potential Essential Patent Claim. With respect to disclosures made to the IEEE-SA in the
       context of its standards-development activities, disclosure of maximum licensing fees,
       terms, and conditions is completely voluntary and may only occur through LOAs submitted
       directly to IEEE-SA. Technical considerations should generally remain the primary focus of
       discussions in IEEE-SA standards-development technical activities.

       3. Some Practical Guidelines

       Written Meeting Agenda: Due process is best served with written agendas available in
       advance of standards meetings. Each IEEE-SA meeting must be preceded by a notice and
       proposed agenda made available to prospective participants. This is to notify the
       participants of the time and place of the meeting and the nature of the business to be
       conducted.

       Written Minutes of Meetings: Minutes of meetings should be prepared and made available.




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       Informal Meetings and Other Communications. Topics that are prohibited from discussion
       on competition-law grounds at any formal IEEE-SA meetings shall not be discussed in e-
       mail reflectors or other electronic communications provided under the auspices of the
       IEEE-SA. Likewise, those topics should not be discussed in hallway conversations,
       luncheons, social events, or in any gathering held in connection with IEEE-SA standards-
       development activities (unless the only people present are all employees of the same
       company).

       No Agreements to Comply. IEEE-SA standards are voluntary. There should be no
       agreement to implement them or to adhere to them or any discussions as to when
       participants will begin to offer products conforming to the standards. Participants involved
       in IEEE-SA’s standardization activities must adhere to IEEE-SA Procedures and Patent
       Policies.

       Customer Surveys and Statistical Programs. Individual participants may make
       presentations about broad market potential or market requirements for informational
       purposes. No IEEE-SA standards group may engage in, direct, or encourage its members
       to engage in surveys of customers or gathering of statistical data about market
       requirements, markets, or customers without appropriate review by IEEE-SA legal counsel
       (which is arranged through the IEEE-SA Staff Liaison for your working group or technical
       committee).

       Importance of Chair. Participants are expected to comply with IEEE-SA policies, but the
       chair of the working group, task group, or other standards-development meeting plays a
       significant role in facilitating this compliance. The chair should ensure that the Call for
       Patents is announced at the beginning of every standards-development meeting (whether
       conducted in person or by telephone). Using the patent slide-set (including the
       competition-law cautions) is the preferred method for this announcement. During a
       meeting, the chair should ensure both that the discussion does not stray into
       impermissible topics and that IEEE-SA policies are not improperly used to suppress
       permissible discussions. The chair should also encourage participants not to remain silent
       if impermissible discussions do occur.

       4. Some Examples

       The following are examples to assist presenters, participants, and chairs in understanding
       permissible comparisons of relative costs (including costs for potentially Essential Patent
       Claims). There may be other permissible forms of comparing relative costs, and these
       examples are not intended to exclude other permissible comparisons.

       These examples use the term “Accepted Letter of Assurance” (or the shorter form
       “Accepted LOA”). That term is defined in the IEEE-SA Standards Board Bylaws and is used
       in the IEEE-SA Standards Board Operations Manual.




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       The particular presentation formats used here are not intended as a mandatory template
       for all presentations. For example, each of these examples uses titles associated with the
       technological substance of the proposal. Proposal names should be fair and accurate, but
       the IEEE-SA does not dictate any particular nomenclature for technology proposals.
       Proposals will sometimes be identified with a particular company or companies. Where a
       proposal is identified with a single company, it is still permissible to make statements
       about the relative costs (of patents or other cost elements) for that technology, even if
       the only known potentially Essential Patent Claims for that technology are owned by a
       single company.

       A presentation that references any Accepted LOA should always indicate that Accepted
       LOAs may contain other material terms and that participants should consult the Accepted
       LOAs for a complete statement of terms disclosed (if any). A presentation that references
       any Accepted LOA should also state that there may be other potentially Essential Patent
       Claims that have not been identified or for which no statement of assurance has been
       received.

       Example 1.

       For “Amber-Teal Technology Proposal,” there is a single Accepted Letter of Assurance, and
       in the Accepted LOA the submitter has voluntarily disclosed that it will not seek more than
       a maximum one-time licensing fee of US $5,000. For “Blue Technology Proposal,” there
       are two Accepted LOAs, and in these Accepted LOAs the submitters have voluntarily
       disclosed that they will not seek more than, respectively, maximum one-time licensing
       fees of US $5,000 and US $15,000, resulting in a cumulative one-time licensing fee of US
       $20,000. There are Accepted LOAs for “Chartreuse Technology Proposal” and “Green
       Technology Proposal,” and in these Accepted LOAs the submitters have not stated
       maximum licensing rates or fees. A presenter could present the information as follows:

                            Amber-Teal          Blue Technology       Chartreuse         Green
                            Technology          Proposal              Technology         Technology
                            Proposal                                  Proposal**         Proposal

        Optics              2n                  3n                    4n                 1.6n

        Silicon             3q                  4q                    2q                 q

        Known Costs of      x                   4x                    not known***       not known***
        potentially
        Essential Patent
        Claims*

           * Presentations shall include a disclaimer, such as “Based on ‘Not to Exceed’ Costs disclosed in
           Accepted LOAs on file with the IEEE-SA. Accepted LOAs may contain other material terms not
           discussed in this presentation. View a complete list of Accepted LOAs, including a complete
           statement of terms disclosed (if any). In addition, this comparison discloses costs only for



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           patent claims that have been identified as potentially essential. Other Essential Patent Claims
           may exist for which a Letter of Assurance has not been received.”

           ** In this example, each proposal is identified by words describing the technology. If the
           “Chartreuse Technology Proposal” had instead been identified as the “Company C Proposal,” it
           would still be permissible to make the statement that “maximum costs of potentially Essential
           Patent Claims” for the Company C Proposal are “not known.” (The IEEE-SA does not require or
           encourage that a proposal be identified with a specific company or companies.)

           *** See note above. A comparison can note that maximum licensing terms for a proposal are
           not known even if there is only one Accepted LOA (that does not disclose maximum terms) on
           file with the IEEE-SA.




       Example 2.

       There is a single Accepted LOA for “Green Technology Proposal,” and in its Accepted LOA
       the submitter has voluntarily disclosed that it will not seek more than a maximum one-
       time licensing fee of US $5,000. There are two Accepted LOAs for “Blue Technology
       Proposal,” and in these Accepted LOAs the submitters have voluntarily disclosed that they
       will not seek more than, respectively, maximum one-time licensing fees of US $5,000 and
       US $15,000, resulting in a cumulative one-time licensing fee of US $20,000. There are no
       Accepted LOAs for “Aquamarine and Fuchsia Technology Proposal,” although information
       for non-IP costs is available (and, in this example, are significantly greater than non-IP
       costs for the two proposals for which there are Accepted LOAs). The information could be
       presented as follows:

                             Green Technology         Blue Technology       Aquamarine and Fuchsia
                             Proposal                 Proposal              Technology Proposal

        Optics               2n                       3n                    30n

        Silicon              3q                       4q                    9.5q

        Known Costs of       x                        4x                    none**
        potentially
        Essential Patent
        Claims*

             * Presentations shall include a disclaimer, such as “Based on ‘Not to Exceed’ Costs disclosed
             in Accepted LOAs on file with the IEEE-SA. Accepted LOAs may contain other material terms
             not discussed in this presentation. View a complete list of Accepted LOAs, including a
             complete statement of terms disclosed (if any). In addition, this comparison discloses costs
             only for patent claims that have been identified as potentially essential. Other Essential Patent
             Claims may exist for which a Letter of Assurance has not been received.”

             ** Technology believed to be in public domain, but participants should verify.




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             Note: The table in Example 2 would also apply where the Accepted LOA for the “Aquamarine
             and Fuchsia Technology Proposal” states that the submitter will offer licenses on a “royalty-
             free” basis (sometimes also called RAND-Z or “RAND-zero royalty”).




       Example 3.

       There is a single Accepted LOA for “Green Technology Proposal,” and in its Accepted LOA
       the submitter has voluntarily disclosed that it will not seek more than a maximum one-
       time licensing fee of US $5,000. There is a single Accepted LOA for “Blue Technology
       Proposal,” and in its Accepted LOA the submitter has voluntarily disclosed that it will not
       seek more than a maximum royalty rate of 1.6% of sales. There is a single Accepted LOA
       for “Aquamarine and Fuchsia Technology Proposal,” and in its Accepted LOA the submitter
       has not disclosed any maximum licensing rates. If it is not possible to provide a
       meaningful relative cost comparison between a one-time fee and a percentage of sales
       rate, then this information could be presented as follows:

                             Green Technology         Blue Technology       Aquamarine and Fuchsia
                             Proposal                 Proposal              Technology Proposal

        Optics               2n                       3n                    1.2n

        Silicon              3q                       4q                    2.2q

        Known Costs of       known                    known                 not known
        potentially
        Essential Patent
        Claims*

             * Presentations shall include a disclaimer, such as “Based on ‘Not to Exceed’ Costs disclosed
             in Accepted LOAs on file with the IEEE-SA. Accepted LOAs may contain other material terms
             not discussed in this presentation. View a complete list of Accepted LOAs, including a
             complete statement of terms disclosed (if any). In addition, this comparison discloses costs
             only for patent claims that have been identified as potentially essential. Other Essential Patent
             Claims may exist for which a Letter of Assurance has not been received.”




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